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CENTRAL DiSTR!.C`l' Ol" CAUFORN!A
WESI'ERN DIVISION

HNTF.RFRJSE RECOVERY sYs‘n=.Ms.
1NC.,
Defcndant.

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Dcfcm}anl ENTERPR.!SI£ R!ECOV l~lRY SYSTEMS. INC. ("ERS") files this opticc of
removal of the captioned civil action from the Superior Court of the Stmc of Califomia, County
of 1.08 Angdes, G\cnda}c D'\visi<m 10 thc Unitcd Stalc$ Di$lrict Court for the Ccntm! é)igrict of
Ca]ifornia, Wcstem Division- Pm's\mnt 00 federal law, all further proceedings in this action musl
occur in me umwa 31wa Disuicc com l

l. 'I`he above-aptioned action was originally filed in chc Supcrior Coun ofthc Statc
of Califbmia_. Coumy of Los Angdw, G{uxdalc l)ivision, bearing Civi¥ No. }ZCOOSl§, on
Fchruary 22_ 2012. Thc action alieges, or appwrs 10 attempt to allege. a cause under fhc federal
Fair Debx Colloction Pmctio¢s Act. 15 U.S.C. sc¢tions 1962 ct scq. a!ong with one under

Calif`omia stan law, Civil (‘.cx!e sections 1788 ct scq.

NOTICE OF REMOVAL

 

 

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llugh R. Koss (SBN 124615)

Koss Law Ot`lioes

Post Off`tce Box 1015

Mill Valley, California 92942-1015
Telephone: (415) 887-8850

Email: hughkoss@kosslawoflic¢s.com

Attomey for Defendant
ENTERPRISE RECOVERY SYSTEMS, rNC.

UNlTED STATES DISTRICI` COURT
CEN'I'RAL DISTRIC'I` OF CALIFORN|A

WESTERN DIVlSlON
KATHARYN GRILL, )
) Case No.
Plaintif}`, )
) NOTICE OF REMOVAL
vs. )
)
EN'|`ERPR|SE RHCOVERY SYSTEMS, )
lNC., )
Dcfcndant. )
)

 

Defendant ENTERPRISE RF.COVERY SYSTEMS, INC. (“ERS”) files this notice of
removal of the captioned civil action from the Superior Court of the State of Califomia, County
of Los Angelcs, Glcndalc Division to the Unitcd States District Court for the Central District of
Califomia, Westem Division. P\n'suant to federal law, all further proceedings in this action must
occur in the United States District Court.

1. '1'he above-captioned action was originally filed in the Supen`or Court of the State
of Califomia, County of l,os Angclcs, Glcndalc Division, bearing Civil No. 12C00813, on
February 22, 2012. The action alleges, or appears to attempt to allege, a cause under the federal
Fair Debt Collection Practices Act, 15 U.S.C. sections 1962 et seq. along with one under

Ca]ifornia state law, Civil Code sections 1788 et seq.

NOT|CE OF REMOVAL

 

 

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2. This Court has original subject matterjurisdiction over this action under 28 U.S.C
sections 1331 and/or 1337(a), as well as under 15 U.S.C. sections 1962 et scq., as the action is
alleged to arise under 15 U.S.C. sections 1962 et seq. Plaintiff` alleges that defendant engaged in
unfair debt collection practices, in violation of a federal statute. [See Complaint, paras. 4-9.]
This Court has removal jurisdiction over this action under 28 U.S.C. section 1441 (a); see also 28
U.S.C. sections 1446, 1447_

3. Service of the action on ERS was completed on March 22, 2012, if at all.

4. ERS expressly reserves all service of process jurisdiction, venue and other
defenses in this action.

5. All pleadings and other papers filed in the state court action prior to removal are
attached hereto as Exhibit A, save for an apparently executed proof of service of summons whichi
was not available to defendant ERS at the time of removal but which shall be liled immediately
upon ERS’ obtaining a copy thereof.

Wherefore, ERS respectfully gives notioe, and prays, that the captioned action be and

hereby is removed to federal court and that all further proceedings in the action occur in this

 

Court.
Dated: April 19, 2012 Respectfully Submitted,
By: M_L'
Hugh R. Koss
Attomeys for Defendant
ENTF,RPRISE RF.COVERY SYSTEMS, INC.
Of counsel:

Gcrald W. Napleton, Esq. (IL State Bar No. 6295299)
Rock Fusco & Connelly, LLC

321 N. Clark Strcet, Suite 2200

Chicago, Illinois 60654

Telephone: (312) 970-3432
gnapleton@rockfuscoconnelly.com

NOTICE OF REMOVAL

 

 

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EXH|BIT A

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KATHARVN GRu t.; ) OF ROSENTHAL FAIR DEBT j
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PlaintiB`, ) Fl\`.DERAL FA\R DEBT COI.LECT|ON
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) (Amotmt not to exceed 510,000)
16 r-:Nrmmst-: RE41:0vF.RY sYs'rEMs, ) l
INC., ) 1. Violation of Rosenthal Fair Debt
n ) Col|ection Practices Act
n Dcf`cndant. ) 2. Viu\ation of I"air Debt Collection
) Practiees Act 1
l9 ____ ______H_F_ ______ 1
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1. lNTRODUCT\ON
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l. This is an action for damages brought by an individual consumer t`or Dcfendant’s
22
n violations of the Roscnthal Fair Debt Colleclion Pradiecs Aet, Cal Civ Codc §17818, el seq.
1
14 (hencinaftcr “RFDC.PA”) and the Fair Debt Collcctiolt l’racliocs Act, 15 U.S.C. §16?2, el s¢q.
15 (hcreiuatier “FDCP1A"), both of which prohibit debt collectors from engaging 111 abusive,
- 1
26 decepdv¢, and unfair practices
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1 ll. PAR'I'IES

2. I’lain , K.A‘I'HARYN GR!LL (“le'nrift"), is a natural person residing in LOS
ANGELE.S county i the state of Calif`omia, and is a “consumcr" as defined by the FDCPA, 15
u.s.C. §)692»(3) is a “d¢lnor" an dennod by col civ codo §1783.2(\1). 1
6 3. At l relevant times herein, Defendant, ENTERPR[SE R£CQVERY
7 SYST£-`.MS INC. (“ defendant ') was a company engagcd, by use of the mails and tclcphonc, in
the business of eoll+ung a debt from PlaintiiT which qualifies as a “debt” as defined by 15
us c §1692n(s) old a oonsnm¢r dchr," as defined by cal civ code §17381(0. oorondnn\
regularly anahptst collect debts alleged to be due anorhcr, and therefore is a “debt collector"
11 ns defined by inc F PA. 15 u.s.C- §1692n(6). and RFDCPA, col civ code §1788.2(¢).
" § m. FAc'ruAr. ALLEcATtoNs
4. At ious and multiple times prior to the filing of the instant complaint,
m including within th one year preceding the filing of this complaint, Del'cndant contacted
n l'laintitt` m an attath to collect an alleged outstanding debt. 1
18 S. ln Oqobcr 2011 Plaintiff` received a call from Det'endant on her cell phone
19 Dcfcndant’s repres tative told Plaintilf he was calling for Ashford Umversity and said
Plaintit¥ owed them $3301.00. Hc further told Plaintill' she had to pay it or else, and mac no

21

n payment arrangem tts would be made on her filc. Hc asked Plaintif`f' if she had received any

23 letters about the ac t, which she advised him she had noL llc also asked Plaindl`l` if she
14 had o o¢odii cord to or inc payment on. m mm potnt, manner told him she would noi give not

” any information w out knowing who nn was. H¢ ld¢niinod hintoolr ns Miko vnycon,

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idommod oor¢ndonll's nnm¢ and oddro~,o, ond provided his phono nonnbor, aoo_t'n.teod x
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Case 2:12-cV-03391-PSG-FI\/|O Document 1 Filed 04/19/12 Page 7 of 26 Page |D #:20

l 291, and Plaintiff`s tpcotmt number L27654. At the end of the call he asked Plainlil`i' if she was

interested in ret to school.
3 .
_ ti. On ::tobcr 11, 2011, Plaintifl`s counsel sent a notice nl' representation and

request for validation of the debt to Det'endant.
6 7. On qclohcr 14, 2011, at 6:|4 a.m_, Dcfendanl called Plaintiff again. l:’laintifl`
7 answered the phone believing it wu an urgent call from a family member. Wl'ten i‘laintiff
answered rne enuerirtiri net identity himself until Pirinrirr asked Again, it was Miire%rayrun,
emploch of l)efendanl. l’laintiff told him she was reporting him and hung up.

8. Defetrdant continued to call Plaintili` on her cell phone alier Octobcr 14,2011,
12 despite the October 1, 201 l, notice of representation Defendant did not request permission to
n contact PlaintiFF directly Further, Def`endant did not provide the requested vdidmit:t:n of the

dcbl,
1
9. Dcfeadant’s conduct violated the FDCPA and the RFDCPA in multiple ways`

 

n includinghulnotli ilcdto;

ll al iling to notify Plaintiff during the initial communication
w th Plaintiff that the communication was an attempt to
c llect a debt and any information obtained would be used for
20 dial P“FP°S¢ (§169?¢(| \));
11 b) Fi\iling to notify Plaintit`f during each collection contact that
n lite communication was from a debt collector (§ l692e(l l));
73 c) lsely representing or implying that nonpayment ol’
aintiff's debt would result in thc scizttre, gamishment, 1
24 a achment, or sale of Plaintil!`s property or wages, where I
25 h action is not lawful or Dcfendant did not intend to take 1
s lt action (§1692e(4)); '
25 ‘

mtcning to take nn action against Plaintiff` that cannot he .
gally taken or that was not acmally intended to be taken 1

1692c(5)); 1

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Comploim- 3

 

 

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\ e) l:' ing in conduct tltc natural consequence of which is to
, ppress, or abuse Plaintift' (§l692d));

3 f) F scly representing that a legal proceeding has bcen, is about
to or will be instituted unless payment ofa consumer debt
‘ is adc (Cal Civ Code §l 788.130));
g) Tlsrcatemng Plamuf!` that nonpayment of l’lamnff’s debt may .
¢, rem in the arrest of Plaintil'[' or the scizurc, gamishmcnt, ‘
at ment or sale of any property or the garnishment or
7 atiaclunent of wages of Plainti[l', where such action was not
a i fact contemplated by the debt collector and permitted by
law (Cal Civ Cod¢ §1788.10(e));
9
h) T ening to take an action against Plaintifl' that is l
‘° 'bn¢a by §17as of the catiromia civil code (cal civ l
to 51783-10(1)); .
12 i) C mmunicating with l‘laimifl° ar times or places which were $
wn or should have been known to be inconvenient for
" P 'nutr(§tss)z¢(a)(c»;

j) CLusing l'laintitl"s telephone to ring repeatedly or
15 tinuously with intent to harass. annoy or abuse I'lainti[[
( l692d(5));

 
 
 
 
  
 
 
 
  

using a telephone to ring repeatedly or continuously to

k)
n noy Plaintiff(Cal Civ Code §l788.l l(d));

la t
w l) municating, by telephone or in person_ with I’luintiff `,
th such frequency as to be unreasonable and to constitute ‘
m a hummcnt to Plaintiff under the circumstances (Cal Civ l
§l788.1 l(c)); and
11
m) here Defcndant had not yet made an attempt to contact
aintiff`s counsel or had not given Plaintiff’s counsel
13 s fficient time to respond to the initial attempt to
mmunimt¢ with Plaintift”s cmm'tcl, and where Plaintil`l"s
z‘ c unscl had not given Dcf`endant permission to contact
25 aintif'f`directly, communicating with !‘laintiff directly after
learning that Plaintiff is being represented by counsel
25 (t lsg?¢(nxz) .
” 10. As q result of nrc above annum of nrc PDCPA and RroCt>A_? Puimiff
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su|Tercd and conan to suffer injury to l’laintift`s fcc\ings, personal hu;miliarion,

 

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Case 2:12-cV-03391-PSG-FI\/|O Document 1 Filed 04/19/12 Page 9 of 26 Peige |D #:22

' embmrassment, mental anguish and emotional disuess, and Defendant is liable to PlaintiiT for

Plaintiff‘s actual damages statutory damagcs, and costs and attorney's fees.

count 1; viot=é]]on or nosmmt. §
4 FA_I§ DEB'I` COLLEQ[!E PBA§ !:lCES ACT

l l, Plain§il'f reincorporates by reference all of the preceding paragraphs

12. 'I`o the extent that Dei`endant's actions, counted above, violated the RFDCPA,

those actions were done knowingly and willfully-

9 PRA\'I€R FOR RELIEF §
‘° wHBREFo§,& Piaimirr respectfully prays mar judgment be emma against oérm¢nm
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for the following;
n
A. Dcclaratory judgment that Del`endant 's conduct violated the RFI)C?A;
'3 B. Actua| damages; 1
N C. Statutory damages for willful and negligent violations; §
D. Cr)sts and reasonable anomcy°s fees~, and §
15 E. For such other and further relief as may be just and tropcr.

§, gotth n= vtot.¢'rtoN QF mm nmrr
QQL,LE.EON mgtgt-:s Ac'r

l3- Plairdiff rcincnrpomtc$ by reference all of thc preceding paragraphs

 

 

 

 

 

20 PRAYER FOR RELIEF §
11 WH£REl-`ORE, Plaintiff respectfully prays that judgment be entered against Det'endant
22 for thc following:
23

A. Dcclnratory judgment that Dcfcndant`s conduct violated the FDCPA;
24 B. Actual darnages', :

C. Statutory thmages;
25 D. Costs and reasonable attorncy's fees; and, §
15 E. For such other and further relief as may bejust and proper. §
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4 Tod- .l-`ri : , Esq,
4 Law Of[icei ofTodd M. Friedman, P.C.
Attorncy for Plaintif`f'

 

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